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                                United States District Court
                                          for the
                                Southern District of Florida

     Jose Javier Perez, individually and      )
     on behalf of all others similarly        )
     situated, Plaintiff,                     )
                                              )
     v.                                       ) Civil Action No. 21-62117-Civ-Scola
                                              )
     Toyota Motor Sales, U.S.A., Inc. and     )
     others, Defendants.                      )

                                          Order
        This matter is before the Court on the Defendants’ motion to stay or
 transfer. 1 (ECF No. 16.) The Plaintiff responded to the motion (ECF No. 21), and
 the Defendants filed a reply in support (ECF No. 27). After careful consideration
 of the briefs, the record, and the relevant legal authorities, the Court grants the
 motion. (ECF No. 16.)

          1. Background
        Shortly after purchasing his new Toyota Prius Prime, Jose Javier Perez
 noticed a bad smell in his car. (ECF No. 20 at ¶¶ 17, 19.) After eliminating old
 food and dirty shoes as the cause, Perez now believes that the smell emanates
 from a defective HVAC system in the car. (Id. at ¶¶ 20–21, 24.) Therefore, on
 October 12, 2021, Perez filed this putative class action. (ECF No. 1.) He sued on
 behalf of himself and “all person or entities in the United States who purchased
 or leased a 2006-2020 Toyota Prius, 2017-2020 Toyota Prius Prime, 2010-2015
 Toyota PHV, 2012-2016 Toyota Prius C, and 2012-2017 Prius V.” (ECF No. 1 at
 ¶ 1.) The claims related to an alleged design defect in the vehicles’ HVAC system,
 which caused “the accumulation of moisture and microbial growth” and the
 emission of “foul, noxious, and/or toxic odors” in the cars. (Id. at ¶ 2.) Perez
 originally sought to certify both a nationwide class and a Florida subclass. (Id. at
 ¶ 111.)
        On January 3, 2022, Perez amended his complaint. (ECF No. 20.) Perez
 alleges the same design defect in the same vehicles, but he no longer seeks to
 certify a nationwide class—he now only brings claims on behalf of a Florida
 class. (Id. at ¶¶ 1, 103.) Moreover, Perez no longer brings claims under the
 federal Racketeer Influenced and Corrupt Organizations Act or Magnuson-Moss

 1
  Defendant Toyota Motor Corporation, which was served after the other two Defendants, filed a
 notice to join the motion. (ECF No. 30.)
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 Warranty Act, which had previously been brought on behalf of the proposed
 nationwide class. (ECF No. 1 at 42–63; ECF No. 20.) Perez now only brings a
 claim under the Florida Deceptive and Unfair Trade Practices Act as well as
 Florida state-law claims for breach of implied and express warranties. (ECF
 No. 20 at 34–35.)

    2. Analysis
        The Defendants move to stay or transfer this case pursuant to the first-
 filed rule. 2 (ECF No. 16.) In particular, the Defendants seek to transfer the case
 to Bettles v. Toyota Motor Sales, U.S.A., Inc., filed almost one month earlier in the
 Central District of California by the Plaintiff’s attorneys. (Id. at 6 (citing Bettles v.
 Toyota Motor Sales, U.S.A., Inc., No. 21-cv-07560 (C.D. Cal. filed Sept. 22, 2021).)
        The first-filed rule is a judicially-created rule of comity that creates a
 “strong presumption” in favor of a first-filed suit where there are two actions
 “involving overlapping issues and parties[.]” See Manuel v. Convergys Corp., 430
 F.3d 1132, 1135 (11th Cir. 2005). The issues and parties need not “be
 identical”—they must only be “sufficiently similar[] or substantially overlap.” See
 Vital Pharms., Inc. v. PhD Mktg., Inc., No. 0:20-cv-60993, 2020 WL 6162794, at
 *2 (S.D. Fla. July 28, 2020) (Dimitrouleas, J.). Applying the first-filed rule, a
 court must consider: “(1) the chronology of the two actions; (2) the similarity of
 the parties; and (3) the similarity of the issues.” See Cardenas v. Toyota Motor
 Corp., No. 18-22798-CIV, 2019 WL 4705843, at *2 (S.D. Fla. Sept. 26, 2019)
 (Moreno, J.). Once the court finds that the two suits have “substantial overlap,”
 the court must transfer the case unless the objecting party establishes
 “compelling circumstances” to warrant an exception to the rule. See Steelers
 Keys, LLC v. High Tech Nat’l, LLC, No. 19-23630-Civ, 2019 WL 6609214, at *2
 (S.D. Fla. Dec. 4, 2019) (Scola, J.). Application of the rule avoids the waste of
 competing judicial resources and prevents conflicting rulings. See id. at *1; see
 also Ruffino v. Robert’s Am. Gourmet Food, LLC, No. 13-61524-Civ, 2013 WL
 12165769, at *1 (S.D. Fla. Sept. 17, 2013) (Scola, J.) (“The first-filed rule is
 premised on judicial economy, comity amongst the district courts, and the desire
 to avoid potentially conflicting rulings.”).
        The Defendants argue that this case and the earlier-filed Bettles action
 involve “substantial overlap” in parties and similar claims. Both this case and
 Bettles involve the same vehicles and the same alleged design defect. See supra

 2 In the alternative, the Defendants moved to transfer the case pursuant to 28 U.S.C. § 1404(a).

 (ECF No. 16.) Application of the first-filed rule does not depend on an analysis under § 1404(a),
 and here, as the Court holds that the first-filed rule is dispositive, the Court does not address the
 Defendants’ arguments under § 1404(a). See Steelers Key, 2019 WL 6609214, at *3 (“[C]ourts
 decline to address the § 1404 factors when the first-to-file rule is dispositive.”).
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 § 1; (see ECF No. 16-1 (Bettles complaint) at 3 (bringing a nationwide class
 action on behalf of all “who purchased or leased a 2006-2020 Toyota Prius,
 2017-2020 Toyota Prius Prime, 2010-2015 Toyota PHV, 2012-2016 Toyota Prius
 C, and 2012-2017 Prius V” for claims regarding “the accumulation of moisture
 and microbial growth within the HVAC system” of the vehicles).) Moreover, as the
 plaintiffs in Bettles brought a nationwide class action, the Defendants argue that
 the Plaintiff and the proposed Florida class are subsumed by the class in Bettles.
 (ECF No. 16 at 7.)
         The Plaintiff opposes a transfer pursuant to the first-filed rule and argues
 that the cases do not share the same parties or claims. (ECF No. 21.) In
 particular, one Defendant in the current action (Southeast Toyota Distributors,
 LLC) is not a party in the Bettles action. Moreover, the cases do not share the
 same causes of action, as while this action involves cases under Florida law for
 deceptive practices and breach of implied and express warranties, the Bettles
 action involves claims under California law for fraudulent concealment, unjust
 enrichment, and breach of implied and express warranties, as well as violations
 of the California Unfair Competition Law, California Consumers Legal Remedies
 Act, California Song-Beverly Consumer Warranty Act, and federal Magnuson-
 Moss Warranty Act. See supra § 1; (see ECF No. 16-1 at 39–57.)
         Here, the parties and issues are sufficiently similar to invoke the first-filed
 rule. As an initial matter, the Court holds that the parties and causes of action
 need not be identical for the first-filed rule to apply. Rather, courts consistently
 require only that the parties and issues in the two actions be “sufficiently
 similar[] or substantially overlap.” See Vital Pharms., 2020 WL 6162794, at *2
 (“The first filed rule does not require that the parties and issues involved be
 identical[.]”); Manuel, 430 F.3d at 1135 (requiring only “overlapping issues and
 parties”); Steelers Keys, 2019 WL 6609214, at *2 (“All that need be present is
 that the two actions involve closely related questions or common subject matter
 . . . The cases need not be identical to be duplicative.”) (quoting Strother v. Hylas
 Yachts, Inc., No. 12-80283, 2012 WL 4531357, at *2 (S.D. Fla. Oct. 1, 2012));
 Rodriguez v. Granite Servs. Int’l, Inc., No. 8:20-cv-2129-T-33JSS, 2020 WL
 6784116, at *2 (M.D. Fla. Nov. 18, 2020) (“The parties and issues need not be
 identical, but rather the parties and issues should substantially overlap.”)
 (cleaned up).
         Turning first to the parties, the Court holds that the parties are sufficiently
 overlapping. In both cases, the plaintiff sued Toyota Motor Corp. and Toyota
 Motor Sales, U.S.A, Inc. for damages relating to the same alleged design defect in
 the same vehicles. (Compare ECF No. 20 with ECF No. 16-1.) While Southeast
 Toyota Distributors is not a defendant in Bettles, courts do not require identical
 parties to apply the first-filed rule. See Vital Pharms., 2020 WL 6162794, at *2
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 (“The first filed rule does not require that the parties and issues involved be
 identical[.]”); see also Peterson v. Aaron’s, Inc., No. 1:14-CV-1919-TWT, 2015 WL
 224750, at *2 (N.D. Ga. Jan. 15, 2015) (“To be clear, for the rule to apply, the
 parties in both actions need not be identical.”). Moreover, as the plaintiff in
 Bettles brought a nationwide putative class, the Plaintiff here and his proposed
 Florida class are members of the Bettles class. (ECF No. 16-1 at ¶ 103); see
 Chapman v. Progressive Am. Ins. Co., No. 3:17-cv-102, 2017 WL 3124186, at *2
 (N.D. Fla. July 24, 2017) (staying the case pursuant to the first-filed rule as
 “there would be overlap between the classes”); see also Rodriguez, 2020 WL
 6784116, at *3 (transferring the case as the plaintiff fell “squarely within the
 putative class” of the first-filed action); Peterson, 2015 WL 224750, at *2 (noting
 that “courts routinely look to the similarities of the proposed classes” when
 comparing plaintiffs).
         Turning next to the issues, the Court again finds substantial overlap. The
 claims here arise from the same alleged HVAC defect in the same make and
 model vehicles as in Bettles. (See ECF No. 1 at ¶¶ 1–2; ECF No. 16-1 at 3.) The
 Plaintiff argues that the first-filed rule cannot apply, as here the Plaintiff brings
 claims under Florida law and in Bettles the claims are brought under federal and
 California law. (ECF No. 21 at 12.) However, as discussed above, the first-filed
 rule looks to whether the issues substantially overlap, not whether the causes of
 action are identical. See Steelers Keys, 2019 WL 6609214, at *2 (“All that need
 be present is that the two actions involve closely related questions or common
 subject matter.”). While each case proceeds under different causes of action, the
 subject matter and the relief sought are identical. (ECF No. 20 at 37–38; ECF
 No. 16-1 at 57–58.) This is sufficient under the first-filed rule.
         The main case that the Plaintiff relies on, Cardenas, is not applicable. In
 Cardenas, Judge Moreno denied a motion to stay or transfer a case involving a
 similar HVAC design defect in Toyota cars. See Cardenas, 2019 WL 4705843, at
 *5. However, Cardenas is easily distinguishable from the present case. In
 Cardenas, the alleged first-filed suit involved different models of cars than those
 at issue in Cardenas, and there was no proposed nationwide class. See id. at *2–
 3. In short, there was no overlap in classes or issues between Cardenas and the
 alleged first-filed suit. See id. Here, unlike in Cardenas, the Plaintiff falls within
 the Bettles putative class and seeks the same relief for the same design defect in
 the same vehicles against largely the same Defendants as in Bettles.
         As Bettles is the undisputed first-filed action, and as this case and Bettles
 involve substantially overlapping parties and issues, the Court must apply the
 first-filed rule unless the Plaintiff establishes compelling circumstances to
 warrant an exception. The Plaintiff has not done so. Therefore, the Court grants
 the Defendants’ motion. (ECF No. 16.) The Court will transfer this matter to the
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 Central District of California for determination of how this case should proceed.
 See Savage v. Seterus, Inc., No. 2:19-cv-14256, 2020 WL 230982, at *3 (S.D. Fla.
 Jan. 15, 2020) (Rosenberg, J.) (“When the first-filed rule applies, the proper
 course is to transfer the second-filed case to the first-filed court to determine
 how the cases should proceed.”). The Clerk is directed to transfer this action to
 the United States District Court for the Central District of California. The Clerk
 is directed to close this case. All pending motions are denied as moot.


       Done and ordered at Miami, Florida, on February 4, 2022.

                                            ________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
